           Case 5:20-cv-01189-FB Document 9 Filed 10/20/20 Page 1 of 1
                                                                            FILED
                                                                             OCT 2 0 2020

                                                                       CLERK) u.S.   DSTRCi COURT
                                                                       WEST*4 DISTRICT OF TEXAS
                                                                       BY. I/IL
                                                                                       DEPUTY CL.EJ(


                             UNITED STATES DISTRICT COURT
JEANNETTEJ.CLACK               WESTERN DISTRICT OF TEXAS                     PHILIP J. DJIVLJN
                                                                              CHIEF DEPUTY
  CLERK OF COURT            655 East Cesar E. Chavez Blvd., Rm G-65
                                   San Antonio, Texas 78206



                                      October 8, 2020

Bexar County District Clerk
101 W. Nueva, Suite 217
San Antonio, Texas 78205-3411



        I, Jeannette   J.   Clack, Clerk of the United States District Court for the

Western District of Texas, do hereby certify and transfer the below-styled

and numbered cause to the 45th Judicial District Court of Bexar County

pursuant to an Order entered remanding, by the Honorable Judge Fred

Biery. Enclosed is a certified copy of the transferring order and docket sheet

in the cause entitled: Case Number: SA-20-CV-01189-FB; Texas Organizing

Project et at V. Callanen, Bexar County Elections Administrator, et at.

        IN TESTIMONY WHEREOF, I have hereunto Subscribed my name and

affixed the seal of the aforesaid Court at San Antonio, Texas, this 8th day of

 September, 2020.

                                            Jennette    J. Clack,     ERK
     FILED
c: gO0ICKM
         OCT 12 2020
       MARY AI4GIB GARC,'                        Deputy Clerk
    DiSUiCtC1eBcxaTCOW1rJ
